     Case 3:18-cv-00428-DMS-MDD Document 587 Filed 04/09/21 PageID.9862 Page 1 of 2



1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
16
17
18           A status conference was held on April 9, 2021. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    A further status conference shall be held on May 21, 2021, at 1:30 p.m. The dial-
21     in number for any counsel who wish to listen in only and members of the news media is as
22     follows.
23           a.     Dial the toll free number: 877-411-9748;
24           b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
25                  Court activates the conference call);
26           c.     Enter the Participant Security Code 05210428 and Press # (The security code
27                  will be confirmed);
28           d.     Once the Security Code is confirmed, participants will be prompted to Press

                                                       1
                                                                               18cv0428 DMS (MDD)
     Case 3:18-cv-00428-DMS-MDD Document 587 Filed 04/09/21 PageID.9863 Page 2 of 2



1                     1 to join the conference or Press 2 to re-enter the Security Code.
2      Members of the general public may attend in person. All persons dialing in to the
3      conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
4      proceedings.
5      2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on May 19, 2021.
6      Dated: April 9, 2021
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
                                                                                   18cv0428 DMS (MDD)
